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                       EXHIBIT L
                                                                                                                                             INDEX NO. 607805/2024
        CaseNO.
NYSCEF DOC.  2:24-cv-06089-JMA-AYS
                11                                                  Document 1-12                Filed 08/30/24                Page 2 of 3NYSCEF:
                                                                                                                                RECEIVED   PageID 08/21/2024
                                                                                                                                                  #:
                                                                             50                                                                                UCS-840
                                                REQUEST FOR JUDICIAL INTERVENTION                                                                         (rev. 02/01/2024)
                                             SUPREME
                                             _______________                       NASSAU
                                                               COURT, COUNTY OF ___________________
                                                   607805/2024
                                      Index No: _______________                              05/06/2024
                                                                       Date Index Issued: _______________                                             For Court Use Only:
 CAPTION         Enter the complete case caption. Do not use et al or et ano. If more space is needed, attach a caption rider sheet.                      IAS Entry Date

 SDN LIMITED and STEVEN NERAYOFF
                                                                                                                         Plaintiff(s)/Petitioner(s)       Judge Assigned
 -against-


 IOV LABS LIMITED, RIF LABS LIMITED, RSK LABS LIMITED, DIEGO GUTIERREZ
                                                                                                                                                           RJI Filed Date
 ZALDIVAR, and ALEJANDRO MARIA ABERG COBO a/k/a ALEX COBO
                                                                                                                     Defendant(s)/Respondent(s)
 NATURE OF ACTION OR PROCEEDING               Check only one box and specify where indicated.
 COMMERICIAL                                                                               MATRIMONIAL
    Business Entity (includes corporations, partnerships, LLCs, LLPs, etc.)                   Contested
    Contract                                                                                  NOTE: If there are children under the age of 18, complete and attach the
    Insurance (where insurance company is a party, except arbitration)                        MATRIMONIAL RJI ADDENDUM (UCS-840M).
    UCC (includes sales and negotiable instruments)                                           For Uncontested Matrimonial actions, use the Uncontested Divorce RJI (UD-13).
                                   fraud / misrepresentation
    Other Commercial (specify): _______________________________________________            REAL PROPERTY          Specify how many properties the application includes: _______
    NOTE: For Commercial Division assignment requests pursuant to 22 NYCRR 202.70(d),         Condemnation
    complete and attach the COMMERCIAL DIVISION RJI ADDENDUM (UCS-840C).                      Mortgage Foreclosure (specify): Residential         Commercial
 TORTS                                                                                        Property Address: ____________________________________________________
    Asbestos                                                                                  NOTE: For Mortgage Foreclosure actions involving a one to four-family,
    Environmental (specify): __________________________________________________               owner-occupied residential property or owner-occupied condominium,
    Medical, Dental or Podiatric Malpractice                                                  complete and attach the FORECLOSURE RJI ADDENDUM (UCS-840F).
    Motor Vehicle                                                                             Partition
    Products Liability (specify): ________________________________________________            NOTE: Complete and attach the PARTITION RJI ADDENDUM (UCS-840P).
    Other Negligence (specify): ________________________________________________              Tax Certiorari (specify): Section:________ Block:________ Lot:________
    Other Professional Malpractice (specify): _____________________________________           Tax Foreclosure
    Other Tort (specify): ______________________________________________________              Other Real Property (specify): __________________________________________
 SPECIAL PROCEEDINGS                                                                       OTHER MATTERS
    Child-Parent Security Act (specify): Assisted Reproduction         Surrogacy Agreement    Certificate of Incorporation/Dissolution [see NOTE in COMMERCIAL section]
    CPLR Article 75 – Arbitration [see NOTE in COMMERCIAL section]                            Emergency Medical Treatment
    CPLR Article 78 – Proceeding against a Body or Officer                                    Habeas Corpus
    Election Law                                                                              Local Court Appeal
    Extreme Risk Protection Order                                                             Mechanic’s Lien
    MHL Article 9.60 – Kendra’s Law                                                           Name Change/Sex Designation Change
    MHL Article 10 – Sex Offender Confinement (specify): Initial          Review              Pistol Permit Revocation Hearing
    MHL Article 81 (Guardianship)                                                             Sale or Finance of Religious/Not-for-Profit Property
    Other Mental Hygiene (specify): ____________________________________________              Other (specify): ______________________________________________________
    Other Special Proceeding (specify): _________________________________________
 STATUS OF ACTION OR PROCEEDING                  Answer YES or NO for every question and enter additional information where indicated.
                                                                                 YES        NO
 Has a summons and complaint or summons with notice been filed?                                   If yes, date filed:       05/03/2024
                                                                                                                         ___________________
 Has a summons and complaint or summons with notice been served?                                                            07/26/2024
                                                                                                  If yes, date served: ___________________
 Is this action/proceeding being filed post-judgment?                                             If yes, judgment date: ___________________
 NATURE OF JUDICIAL INTERVENTION                 Check one box only and enter additional information where indicated.
      Infant’s Compromise
      Extreme Risk Protection Order Application
      Note of Issue/Certificate of Readiness
      Notice of Medical, Dental or Podiatric Malpractice Date Issue Joined: ___________________
      Notice of Motion                                                       Extension of time to complete service
                                                         Relief Requested: ______________________________                              08/30/2024
                                                                                                                       Return Date: ___________________
      Notice of Petition                                 Relief Requested: ______________________________              Return Date: ___________________
      Order to Show Cause                                Relief Requested: ______________________________              Return Date: ___________________
      Other Ex Parte Application                         Relief Requested: ______________________________
      Partition Settlement Conference
      Poor Person Application
      Request for Preliminary Conference
      Residential Mortgage Foreclosure Settlement Conference
      Writ of Habeas Corpus
      Other (specify): ____________________________________________________________________________


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                                                                                                                                             #:
 RELATED CASES           List any related actions. For Matrimonial cases, list any related
                                                                                   51 criminal or Family Court cases. If none, leave blank.
                         If additional space is required, complete and attach the RJI ADDENDUM (UCS-840A).
 Case Title                                     Index/Case Number                    Court                                            Judge (if assigned)                   Relationship to instant case




 PARTIES                 For parties without an attorney, check the “Un-Rep” box and enter the party’s address, phone number and email in the space provided.
                         If additional space is required, complete and attach the RJI ADDENDUM (UCS-840A).
 Un- Parties                                        Attorneys and Unrepresented Litigants                                                                                   Issue Joined            Insurance Carriers
 Rep List parties in same order as listed in the    For represented parties, provide attorney’s name, firm name, address, phone and                                         For each defendant,     For each defendant,
     caption and indicate roles (e.g., plaintiff,   email. For unrepresented parties, provide party’s address, phone and email.                                             indicate if issue has   indicate insurance
     defendant, 3rd party plaintiff, etc.)                                                                                                                                  been joined.            carrier, if applicable.
     Name: SDN LIMITED
                                                    John A. Piskora, Esq., David A. Forrest, Esq., Loeb & Loeb LLP, 345 Park Ave.,
     Role(s):                                                                                                                                                                    YES        NO
                 Plaintiff                          New York, NY 10154, (212-407-4000), jpiskora@loeb.com

      Name: Steven Nerayoff
                                                    John A. Piskora, Esq., David A. Forrest, Esq., Loeb & Loeb LLP, 345 Park Ave.,
      Role(s):                                                                                                                                                                   YES        NO
                 Plaintiff                          New York, NY 10154, (212-407-4000), jpiskora@loeb.com

      Name: IOV Labs Limited                        SUITE 23, PORTLAND HOUSE, GLACIS ROAD, GIBRALTAR, GX11 1AA, GIBRALTAR
      Role(s):                                      OR                                                                                                                           YES        NO
                 Defendant                          c/o FIDUCIARY TRUST LIMITED, 3 BELL LANE, GIBRALTAR


      Name: RIF Labs Limited                        SUITE 23, PORTLAND HOUSE, GLACIS ROAD, GIBRALTAR, GX11 1AA, GIBRALTAR
      Role(s):                                      OR                                                                                                                           YES        NO
                 Defendant                          c/o FIDUCIARY TRUST LIMITED, 3 BELL LANE, GIBRALTAR


      Name: RSK Labs Limited                        Pasea Estate, P.O. Box 958, Road Town, Tortola, VG1110, Virgin Islands, British
                                                    OR
      Role(s):                                      c/o MMG TRUST (BVI) CORP, MORGAN & MORGAN BUILDING, PASEA ESTATE, ROAD TOWN, TORTOLA, VG1110, VIRGIN ISLANDS, BRITISH        YES        NO
                 Defendant
      Name: Diego Gutierrez Zaldivar
      Role(s):                                      2028 4 R, VIDT, BUENOS AIRES, C1425, ARGENTINA                                                                               YES        NO
                 Defendant
      Name: Alejandro Maria Aberg Cobo a/k/a Alex Cobo
                                                       Camino De Los Horneros 220, Lomas De La Tahoma Lote 346, 14000 Colonia
      Role(s):                                                                                                                                                                   YES        NO
                 Defendant                          Nicolich, Canelones Uruguay

      Name:
      Role(s):                                                                                                                                                                   YES        NO

      Name:
      Role(s):                                                                                                                                                                   YES        NO

      Name:
      Role(s):                                                                                                                                                                   YES        NO

      Name:
      Role(s):                                                                                                                                                                   YES        NO

      Name:
      Role(s):                                                                                                                                                                   YES        NO

      Name:
      Role(s):                                                                                                                                                                   YES        NO

      Name:
      Role(s):                                                                                                                                                                   YES        NO

      Name:
      Role(s):                                                                                                                                                                   YES        NO

 I AFFIRM UNDER THE PENALTY OF PERJURY THAT, UPON INFORMATION AND BELIEF, THERE ARE NO OTHER RELATED ACTIONS OR PROCEEDINGS,
     EXCEPT AS NOTED ABOVE, NOR HAS A REQUEST FOR JUDICIAL INTERVENTION BEEN PREVIOUSLY FILED IN THIS ACTION OR PROCEEDING.


            08/21/2024
 Dated: ___________________                                                                                      _______________________________________________________
                                                                                                                                         Signature
                             3974664
  ________________________________________________________                                                                             John A. Piskora
                                                                                                                 _______________________________________________________
                  Attorney Registration Number                                                                                          Print Name
                                                                                                    2 of 2
